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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                      NORTHERN DIVISION

MELVIN WILLIAMS, ET AL.                                                              PLAINTIFF

V.                                                  CIVIL ACTION NO. 3:20-cv-785-DPJ-FKB

THE CITY OF JACKSON, ET AL.                                                        DEFENDANT

                                              ORDER

       Pursuant to this Court’s Order [68], counsel came before United States Magistrate Judge

F. Keith Ball for a settlement conference on November 29, 2022, and a follow-up telephonic

conference on December 7, 2022. During the December 7, 2022 conference, counsel advised

Judge Ball that the parties had reached an agreement to narrow the parties and claims in this

case, as set forth herein. In an August 15, 2023 conference with Judge Ball, counsel confirmed

that the parties agree to entry of this Order. Accordingly, the parties agree, and the Court hereby

orders, the following:

       1.      The Equal Protection/Disparate Treatment claims of the following plaintiffs, as

asserted in the original Complaint [1] and Schultea Response [33], are hereby severed into the

following cases to be opened on the docket of this Court:

               a.        Garry Arthur, Keith Freeman, and Robert Watts v. City of Jackson,

               Jackson Police Department, and Chief James Davis;

               b.        Candice Ingram and Cossandra Thomas v. City of Jackson, Jackson

               Police Department, and Chief James Davis; and

               c.        Pamela Rigby v. City of Jackson, Jackson Police Department, Mayor

               Chokwe Antar Lumumba, and Chief James Davis.
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The Clerk of this Court is hereby directed to open the above-identified cases as separate cases on

the docket of this Court.

        2.     All plaintiffs, including Garry Arthur, Keith Freeman, Robert Watts, Candice

Ingram, Cossandra Thomas, and Pamela Rigby, will proceed in this case on their Establishment

Clause claims against the following defendants: City of Jackson, Jackson Police Department, and

Chief James Davis. All other claims and defendants are hereby dismissed without prejudice from

this case.

        3.     Although the parties and claims shall be limited to those identified above, all

parties reserve their arguments on all procedural, factual, and legal issues related to those parties

and claims including, but not limited to, standing and further severance.

        SO ORDERED AND ADJUDGED this the 22nd day of August, 2023.

                                               s/ Daniel P. Jordan III
                                               CHIEF UNITED STATES DISTRICT JUDGE
